Case 18-30345-MBK Doc 29 Filed 04/04/19 Entered 04/04/19 11:32:49                         Desc Main
 UNITED STATES BANKRUPTCYDocument
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 DISTRICT OF NEW JERSEY
 Caption in Compliance with D.N.J. LBR 9004-2(c)
  STEVEN J. ABELSON, ESQ., P.C.
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  Attorney for Debtor

 In Re:                                                  Case No.:      ___________________
                                                                              18-30345
  SUDHIR BUDHIRAJA                                       Judge:          ___________________
                                                                                MBK

                                                         Chapter:                13




               CHAPTER 13 DEBTOR’S CERTIFICATION IN OPPOSITION TO
               ‘ CREDITOR’S MOTION or CERTIFICATION OF DEFAULT
               ‘       TRUSTEE’S MOTION or CERTIFICATION OF DEFAULT


       The debtor in the above-captioned chapter 13 proceeding hereby objects to the following
(choose one):

          1.       ‘
                   ✔      Motion for Relief from the Automatic Stay filed
                          by___________________ _____________________,
                                      WELLS FARGO    BANK              creditor,

          A hearing has been scheduled for ____________________________,
                                                      4/9/19             at _________
                                                                               9:00   __m.
                                                                                      a.

                                                   OR

                   ‘      Motion to Dismiss filed by the Standing Chapter 13 Trustee.

          A hearing has been scheduled for ____________________________, at _________ __m.
                                                                                      a




                   ‘      Certification of Default filed by __________________________, creditor,

          I am requesting a hearing be scheduled on this matter.

                                                    OR

                   ‘      Certification of Default filed by Standing Chapter 13 Trustee

          I am requesting a hearing be scheduled on this matter.
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        2.       I am objecting to the above for the following reasons (choose one):

                 ‘        Payments have been made in the amount of $ ___________________, but
                          have not been accounted for. Documentation in support is attached hereto.

                 ✔
                 ‘        Payments have not been made for the following reasons and debtor
                          proposes repayment as follows (explain your answer):_______________
                                                                                 Modification
                          ____________________________________________________________
                          Request Pending on Appeal. We are awaiting a final determination.
                          ____________________________________________________________


                 ‘        Other (explain your answer):___________________________________
                          ____________________________________________________________
                          ____________________________________________________________


        3.       This certification is being made in an effort to resolve the issues raised by the
                 creditor in its motion.


        4.       I certify under penalty of perjury that the foregoing is true and correct.


Date: _______________________
       4/4/19                                                          /s/ Sudhir Budhiraja
                                                                       ______________________________
                                                                       Debtor’s Signature

Date: _______________________                                          ______________________________
                                                                       Debtor’s Signature


NOTE:
1.      This form must be filed with the court and served upon the Standing Chapter 13 Trustee and creditor at
        least seven (7) days before the return date pursuant to D.N.J. LBR 9013-1(d),if filed in opposition to a
        Motion for Relief from the Automatic Stay or Trustee’s Motion to Dismiss.
2.      This form must be filed with the court and served upon the Standing Chapter 13 Trustee and creditor within
        ten (10) days of the filing of a Creditor’s Certification of Default (under an Order Resolving Motion to
        Vacate Stay and/or Dismiss with Conditions) or a Trustee’s Certification of Default.


If this form is not filed the Motion or Certification of Default will be deemed uncontested
and no hearing will be scheduled.



                                                                                            Local Form 23. rev.6/20/06.jml
